Case 3:18-cv-02862-M        Document 219     Filed 05/01/24     Page 1 of 1    PageID 5915
                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

BERTRUM JEAN et al.,                          §
                                              §
           Plaintiffs,                        §
                                              §
v.                                            §
                                              §         Civil Action No. 3:18-cv-02862-M
AMBER GUYGER, et al.,                         §
                                              §
           Defendants.                        §
                                              §
                                              §

                                           ORDER

       The Court’s December 20, 2023, Scheduling Order (ECF No. 217) is hereby modified as

follows:

 Event                                                  New Date
 Pretrial Conference                                    November 6, 2024, 1 p.m.
 Jury Selection                                         November 7, 2024, 9 a.m.
 Trial Date                                             November 18, 2024, 9 a.m.




       SO ORDERED.

       May 1, 2024.

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                                          BARBARA M. G. LYNN
                                          SENIOR UNITED STATES DISTRICT JUDGE
